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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Taphia Williams, et al.
                                Plaintiff,
v.                                                Case No.: 1:18−cv−01456
                                                  Honorable Harry D. Leinenweber
Tom Dart, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 14, 2019:


        MINUTE entry before the Honorable Harry D. Leinenweber: Status hearing/ruling
set for 2/27/19 is vacated. Ruling by mail. Mailed notice (maf)




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